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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                           PANAMA CITY DIVISION



GEORGE CURRY HUDSON,

             Plaintiff,

vs.                                                 5:04CV133-SPM/AK

MONICA WETZEL, et al,

             Defendants .

                               /


                          REPORT AND RECOMMENDATION

      Plaintiff brings this cause pursuant to 42 U.S.C. §1983 alleging due process

violations by Defendants related to a disciplinary hearing. (Doc. 15). Plaintiff was

advised by previous order that his disagreement with the findings of the disciplinary

committee was insufficient to state a claim and that only specific procedural

problems with the disciplinary proceeding would state such a claim. (Doc. 10).

After considerable delay, Plaintiff filed an amended complaint wherein Plaintiff

complains that Defendant Dennis Hayes wrote a false incident report about

Plaintiff’s possession of a typewriter ribbon and Defendant Davis found Plaintiff

guilty and took his job at Unicor from him. (Doc. 15). He claims that Defendant
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Kendall told him he better have a receipt for the ribbon, which Plaintiff claims he

provided to the Warden, who in turn kept it for several weeks and months. It is not

clear what Plaintiff claims Defendant Wetzel did.

       A court may dismiss a case proceeding in forma pauperis if the complaint

fails to state a claim upon which relief may be granted. 28 U.S.C. § 1915A. Pro se

complaints are to be held to a less stringent standard than those drafted by an

attorney. Wright v. Newsome, 795 F.2d 964, 967 (11th Cir. 1986), citing Haines v.

Kerner, 404 U.S. 519, 520-1, 92 S. Ct. 594, 596, 30 L. Ed. 2d 652 (1972).

However, a plaintiff is still required to "set forth factual allegations, either direct or

inferential, respecting each material element necessary to sustain recovery under

some actionable legal theory." Worst v. Hart, 1995 WL 431357, *2 (N.D. Fla.

1995). It cannot be assumed that a Plaintiff will prove facts which have not been

alleged. Quality Foods de Centro America, 711 F.2d at 995, citing Associated

General Contractors of California, Inc. v. California State Council of Carpenters,

459 U.S. 519, 103 S. Ct. 897, 902, 74 L. Ed. 2d 723 (1983). Hence, even though

the pleading standard for a pro se complaint is quite liberal, “bald assertions and

conclusions of law will not suffice.” Leeds v. Meltz, 85 F.3d 51, 53 (2d Cir. 1996).

Additionally, the court's duty to construe a plaintiff's complaint liberally is not the

equivalent of a duty to rewrite it. Peterson v. Atlanta Housing Auth., 998 F.2d 904,

912 (11th Cir. 1993).



       The Eleventh Circuit has interpreted a recent Supreme Court case to

foreclose all claims challenging a disciplinary proceeding unless they are “purely

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procedural, as in Wolff....”   Edwards v. Balisok, 520 U.S. 641, 117 S.Ct 1584, 137

L.Ed.2d 906 (1997); Harden v. Pataki, 320 F.3d 1289, 1295 n.9 (11th Cir. 2003).

      The procedural requirements for a disciplinary hearing are three-fold: (1)

advance written notice; (2) a written statement of the reasons for the disciplinary

action taken; and (3) the opportunity to call witnesses and present evidence.

Wolff, 418 U.S. at 563; Young v. Jones, 37 F.3d 1457, 1459-60 (11th Cir. 1994);

Bass v. Perrin, 170 F.3d 1312, 1318 (11th Cir. 1999).

      Plaintiff has not alleged that any of these recognized procedural defects

occurred with regard to his disciplinary hearing. His primary complaint is that he

disagreed with the findings of the disciplinary committee.

      In light of the foregoing, it is respectfully RECOMMENDED that Plaintiff’s

amended complaint, doc. 15, be DISMISSED for failure to state a claim upon which

relief may be granted pursuant to 28 U.S.C. § 1915A(b).

      IN CHAMBERS at Gainesville, Florida, this 16th       day of May, 2005.




                                         s/ A. KORNBLUM
                                         ALLAN KORNBLUM
                                         UNITED STATES MAGISTRATE JUDGE




                               NOTICE TO THE PARTIES

       A party may file specific, written objections to the proposed findings and
recommendations within 15 days after being served with a copy of this report and
recommendation. A party may respond to another party’s objections within 10 days after
being served with a copy thereof. Failure to file specific objections limits the scope of
review of proposed factual findings and recommendations.

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